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                          UN ITE D STA TES DISTR IC T C O U R T
                          SO U TH ERN D ISTR IC T O F FL O R IDA

                                   xo. 11- M3'- 17,39,: -I8 Bcw
 UN ITED STATE S O F AM ER IC A



 K EVIN C .FUSC O ,
       a/lk/a,:CPO LIR A ''

       D efendant.
                                   /

                               C RIM IN AL C O V ER SH EET


       D id thism atteroriginate from a m atterpending in the N orthern Region ofthe United
       StatesAttorney'sO ffice priorto O ctober 14,20037            Y es X      No

        Didthismatterolisnatefrom amatterpendingintheCentralRegionoftheUnitedStates
       A ttolmey's Office priorto Septem ber 1,2007?          Y es       Y     No


                                            Respectfully subm itted,

                                           W IFR ED O A .FERRER
                                           UN ITED STA TES ATTO RN EY


                                    BY :
                                           F N CISC O R . A D ERA
                                           A SSISTAN T UN ITED STATES TTO RN EY
                                           Fla.Bar.N o.41481
                                           99 N .E.4th Street
                                           M iam i,Florida 33132-21l1
                                            TEL (305)961-9159
                                            FAX (305)530-7976
                                            francisco.maderal@ usdoj.gov
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AO 9l(Rev.08/09) CriminalComplaint

                                U NITED STATES D ISTRICT C OURT
                                                        forthe
                                             Southern DistrictofFlorida

               United StatesofAm erica                     )
                                                           )
         KEVIN C.FUSCO ,a/k/a,'POLIRA,''
                                                           )
                                                           )
                                                             casexo.1:-yyw rJAX -)< :y
                                                           )
                                                           )

                                             CRIM INAL CO M PLM NT

        1,thecomplainantin thiscase,statethatthefollowing istnleto thebestofmy knowledge and belief.
Onoraboutthedatets)of                9/2015-4/2016         inthecountyof                  Miami
                                                                                              -Dade            inthe
   Southern    Districtof             Florida      ,thedefendantts)violated:
          CodeSection                                              OffenseDescrlption
Title 21,United States Code,             Conspiracy to Distribute Controlled Substances
Sections846& 841(b)(1)(c)
Title 18,United States Code,             Conspiracy to Com m ittMoney Laundering
Sectiona1956(h)& 1956(a)(1)



        Thiscriminalcomplaintisbased on these facts:
SEE ATTACHED AFFIDAV I
                     T.




        V Continuedontheattachedsheet.


                                                                                   Complainant'
                                                                                              &signature
                                                                                              .

                                                                             M aria IsabelVasall
                                                                                               o,S/A.D EA
                                                                                   Printednameand title

Sworntobeforem eand signed inm y presence.



                                                                                     Jttdge'ssi
                                                                                              gnature

City and state'
              .                                                           Barl L.Garber,U.S.Maqistrate Judqe
                                                                                   Printednameandtitle
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                                          A FFID AV IT

        1,M A RIA ISA BEL VA SA LLO ,SpecialA gentw ith the D nzg Enforcem ent

 Adm inistration,being Grstduly sw orn,hereby depose and state as follow s:

                                        INTRODUCTION

              l am an investigative or law enforcem ent ofticer of the United States within the

 meaningofSection2510(7)ofTitle 18oftheUnited StatesCode.Thatis,1am anofticerofthe
 United States w ho is em pow ered by law to conduct investigations of,and to m ake arrests for,

 offensesenumerated in Title 18,United StatesCode,Section 251641),and in Title 21,United
 StatesCode,Section 878.

               This affidavitis m ade in supportof a crim inalcom plainteharging K evin FU SCO ,

 a/k/a GCPOLIRA ,''w ith conspiracy to distribute narcotics,in violation of Title 2l,U nited States

 Code,Section 846,and conspiracy to com m itm oney laundering,in violation ofTitle 18,U nited

 StatesCode,Section 1956(h).
              lhave not necessalily included in the affidavit each and every factknow n to m e

 about the m atters set forth herein,but only those fad s and circum stances that 1 betieve are

 suftk ientto establish probable cause forthe Courtto sign a crim inalcom plaint.

              The statem ents contained in this affidavit are based upon m y investigation,

 inform ation provided by other sworn law enforcem ent officers and on m y experience and

 training as a federalagentand the experience and training ofotherfederalagents.

                                      PROBABLE CAUSE

              This application stem s from an ongoing crim inal investigation into dnzg dealers

 operating on clim inal online m arketplace websites,including a w ebsite know n as the N ucleus

 M arket.
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        6.    ln the course of this investigation,1 have learned thatthe N ucleus M arketw ebsite

 was one ofmany climinal marketplaces operating on The Onion Router (ttTor'') network,
 othenvise known as the 'tdark w eb.'' From its inception in Novem ber 2014 to the date that it

 w entoffline in April,2016,The NucleusM arketw asdesigned to prom ote the anonym ous sale of

 illegalitem s,such asnarcoties,in exchange forBitcoin and other,peer-to-peercrypto-currencies

 (alsoknownas,virtualcurrencies).
              A s set forth in m ore detail below , probably cause exists that FU SCO was

 trafficking in narcoticsand laundering in the proceedsofhis activitiesusing Bitcoin and the dark

 web,inconspiracywiththeunknownadministratorts)oftheNucleusM arket.
                       1.TH E TO R N ETW O RK AN D TH E RD AR K W EB''

              The lnternetis a globalnetwork of com puters and othel-devices. D evices directly

 connected to the lnternet are identified by their unique IP address.This num ber is used to route

 infonnation betw een devices. Generally, w hen one device contacts a second device, the first

 device m ustbe directed to the IP address ofthe second device. M oreover,when the firstdevice

 contacts the second device,the firstdevice provides its own IP address to the second device,so

 that the second device know s where to direct its response. A ccordingly, the tw o connected

 devices (forinstance,a home computerand the www.google.com website server)know each
 other's IP address.

        9.    The typicaluser m ay notknow the IP address ofa w ebsites he visits. Typically,a

 user w ill type the dom ain nam e of the w ebsite- which com m only corresponds to a plain-

 language nam e for the w ebsite, c.g., w ww .google.com - into the Unifonn Resource Locator

 (çfURL'')baratthetopoftheirwebbrowsers.Thisdomain namewillbetransmittedtoaDomain
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 Name System (ççDNS'') server,which then translates the domain name into the appropliate
 num ericalIP address,and thereby allow sthe userto connectw ith the requested w ebsite.

                H ow ever, if a user know s of a unique IP address for a particular w ebsite,

 generallylthe user can type that IP address directly into the U RL bar and access the w ebsite in

 thatm anner.

                ln addition,publicly available databases can be easily searched to obtain the IP

 address forany known U RL and the registered ow ner and location ofany IP address.Thus,w ith

 additionalinquiry,m ostany URL or IP address can be traced to its ownerand physicallocation.z

 Thisis problem atic foranyone conducting crim inalactivity on the internetand w ishing to rem ain

 anonm ous.

                       A .User A nonym ity Provided by the Tor N etw ork

        12. The Onion Router(Tor)network is a specialnetwork ofcomputers distlibuted
 around the w orld designed to conceal the tnle IP addresses of the users ofthe netw ork.Every

 com m unication sent through Tor is directed through num erous relays w ithin the netw ork- and




 1The server or virtual server w ith a particular IP address can host m ultiple websites, in w hich
 case entering thatparticular IP address would notdirect a user to a single w ebsite.H owever,if
 an IP address is associated w ith a single w ebsite,entering the IP address as described above
 w ould directthe userto thatparticularw ebsite.
 2 Private individuals operating hom e com puters usually do not own and register their ow n IP
 address;instead,they subscribe to broadband accounts w ith ISPS,such as Com cast or A T& T,
 which inturn assignorleasean IP addressto them (thesubscriber).Nevertheless,theIP address
 can usually be traced to its assigned userata given pointin tim e using the ISPS records ofw hich
 subscriberw asassigned w hich IP addressand w hen.
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 wrapped in a layerof encryption ateach relay- such thatthe end recipientofthe com m unication

 hasno w ay oftracing the com m unication back to its true originating IP address.

               ln orderto accessthe Tol'network,anyone can simply download the Torbrow ser

 softw are and use itto access the internet.The user sim ply inputs a website IP address or U RL

 into the Torbrow ser and the Tor brow ser autom atically enerypts and routes the com m unication

 through severalrelays and then outto the destination so thatthe destination w ebsite can only see

 theIPaddressofthelast(orççexif')relayandnottheIP addressofthedeviceactuallyconnecting
 to the destination w ebsite.

               By w ay of illustration, in a standard intenzet com m unication, when a person

 connectsto a w ebsite,thatw ebsite can seethatpersons IP address:


      Hol
      IP lleC0nlP.tlter                                  W.
                                                          %tMtsga)#,
                                                                   j:,
                                                                     çjlj)
         7l23.456-789




 In this illustration of a standard internetconnection,the website www.google.com can see the

 homecomputerIP address(123.456.789)and,ofcourse,theuserofthehome computerknew
 the URL,and therefore the IP address,ofw ww .google.com ,w hich the user had to type into his

 browserto connectto thewebsite in the tirstplace.Thus,each users'IP addressisknown to the

 other,and the ow ner and location ofboth can laterbe traced.

               Sim ilarly, any person m onitoring the internet traffic at a point betw een the tw o

 would see the connection betw een IP 123.456.786 and w w w .google.com and know that those

 tw o devices w ere com m unicating.
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        l6. On the other hand,in the case of a Tor netw ork com m unication, w hen a person

 connects to a w ebsite, the traffic is encrypted and routed through m ultiple relays, and that

 w ebsite cannotsee thatpersons IP address:

                                1-0rRfla)'l
                              lP:()
                                  0 l.00I-(O 1



   llolneCqmputer
    1P'
      .123,456,?8't
                  )                                                             wwu
                                                                                 .. ..google-com

                                        T0rRelay 2
                                      IP:(
                                         -*2.602.002



                                                              TorRelay 3
                                                            IP::03.
                                                                  -003,003




 ln this illustration of a Tor netw ork connection,the w ebsite w w w .google.com cannot see the

 homeeomputerIP address(123.456.789)*
                                    ,instead itonly seestheIP addressofthedeviceitis
 diredly conneded to,the third (orttexif')Torrelay,with IP address003.003.003,which IP
 address cannotbe traced back to the hom e com puteruser.

               In addition,any person monitoring the internettraffic ata pointbetween thehom e

 com puter and w ww .google.com and w ould not know that those tw o devices w ere

 com m unicating. lnstead, depending on the m onitoring point, that person w ould only see the

 directconnectionsbetweenthehomecomputerand first(or'tentry'')Torrelay,betweenthefirst
 and second,or second and third Tor relays,or between the third (or ûGexif') Tor relay and
 ww w .google.com .
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         18. A s w ith a standard internet colm ection,the user m usthave know n the URL or IP

 address of the w ebsite in order to have directed a colm ection to it through the Tor netw ork.

 A ccordingly,although the IP address ofthe useris hidden from the w ebsite,the IP address ofthe

 w ebsite m ustbe know n to the user- the anonym ity is only one-w ay.

        19. The Tor netw ork addresses this problem through a feature know n as tthidden

 services.''

               B.H idden Services:W ebsite A nonym ity Provided by the Tor N etw ork

        20. To achieve true,two-w ay anonym ity, the Tor netw ork also enables w ebsites to

 operate inside the netw ork in a m anner that conceals the true IP address ofthe com puter selwer

 hosting the website. Such tthidden services'' operating on Tor have com plex w eb addresses,

 generated in a com puter algorithm ,ending in tç.onion.''Unlike a standard U RL,there is no w ay

 to retrieve a w ebsite server'strue IP address from its .onion Toraddress alone.

        2 1. This alleviates the need for a Tor network user to know the true IP address of a

 w ebsite.Rather the user can directhis Torbrow ser to the .onion address,reach the website,and

 neither the user nor the w ebsite knows the other's IP address- tw o-w ay anonym ity is achieved.

 This netw ork ofanonym oususers and w ebsites is the %çD ark W eb.''

        22. Crim inals have taken advantage of the Dark web to create w ebsites w ith online

 m arketplaces dedicated to the trafficking of controlled substances and other illicit goods.

 W ebsites such asw w w .deepdotw eb.com m aintain an overview ofillegalm arketplaces operating

 on the Dark W eb, and how -to guides such as: ççl-low to Buy Drugs O nline from D arknet

 M arkets.''3



 3htT sr//www .deepdotweb.com/zols/lz/3o+ uy-dH gs-online-gom -daru etmarkets/
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                              C .D escription ofthe N ucleusM arket

               N ucleus provided an infrastnzcture that allow ed buyers and sellers to conduct

 transactions online,in a m anner sim ilar to w ell-known online m arketplaces such as eB ay.Like

 eBay:

                        Nucleus functioned as an interm ediary betw een buyers and sellers.Sellers

 created accounts on N ucleus to advertise their products,such as narcotics or hacked com puter

 passw ords,and buyers created accounts to brow se sellers'products and purchase them ;in this

 regard,N ucleus'sw ebsite interface issim ilarto w ell-know n online m arketplaces'
                                                                                   ,

                        N ucleusperform ed m oderatorand m aintenance services,such as receiving

 com plaints,providing technicalassistance,and allow ing custom ers to postreview s of N ucleus

 vendors. N ucleus also provided a m eans by w hich its users can com m unicate w ith its

 adm inistrators and operators;and

                        Nucleus charged a com m ission from every transaction as a percentage of

 the sale price.

               H ow ever, unlike legitim ate online m arketplaces, N ucleus was dedicated and

 designed to facilitate the sale of illegalnarcotics, drug paraphernalia,firearm s,and counterfeit

 and fraud-related goods and selwices.Forexam ple:

                         lllegal drugs, such as m etham phetam ines, heroin, and cocaine, w ere

 openly advertised and sold and w ere im m ediately and prom inently visible on the N ucleus

 w ebsite. Som e of the item categories listed on the N ucleus w ebsite w ere:t'Fraud,''fçD rt
                                                                                             zgs &

 Chem icals,''ûçcounterfeitltem s,''ççW eapons,''and ç6softw are & M alware'''

                   b.    The N ucleus w ebsite w as specifically designed to facilitate illegal

 com m erce by w orking to ensure the anonym ity ofits adm inistrators,asw ellas ofthe buyers and
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 sellers w ho participate in com m erce on the w ebsite.The w ebsite w as designed to achieve this

 anonym ity prim arily by operating asa hidden service on the Tornetw ork.

                        To furtherprom ote anonym ity,purchasesw ere m ade prim alily in bitcoin

 (orothervirtualcurrency)usingNucleus'sescrow services,i.e.,abuyertransferred fundsfrom
 his orherown accountor virtual-eurrency w alletinto an N ucleus accountorw allet,and N ucleus

 subsequently transferred the f'unds to the seller'saccountorw alletupon satisfaction ofthe tenns

 of sale.ln doing so,Nucleus also provided a ççtum bling''or çkm ixing''service w hich essentially

 scram bled m ultiple buyer-seller Bitcoin transactions together in order to conceal the bitcoin

 paym ents from buyer to seller or com m ission paym ents to the adm inistrator.Thus,there w as no

 directbitcoin transaction betw een the buyerand the seller.

               On A pril 13,2016,Nucleus w ent offline for an unknown reason. A t this tim e,

 there are over 5000 bitcoins,currently valued at $3.6 million,stillcontained within N ucleus

 bitcoin w allets. The tnle identity of the individual or individuals w ho controlled and operated

 theNucleuswebsite,i.e.,theadministratorts),isunknown.
                          D . GPO LIIU ''V endor on N ucleusM arket

               Since at least Septem ber of 2015,agents identified a narcotics vendor,know n as

 GCPOLIRA ''appearing on the Nucleus Market.(Law enforcementhad previously identified
 çtKevin Fusco'' as using the nam e 'T olira'' to purchase M D M A on the dark w eb based on

 inform ation obtained from the seized w ebsite selw ers of the now defunct crim inal dark w eb

 marketplacesSilkRoadand SilkRoad2.0.)
                On several occasions, DEA agents have m ade undercover online purchases of

 M DM A from ttPO LIRA '' and received the M D M A via             M ail, shipped to undercover

 m ailboxesin M iam i,Florida.Forinstance'
                                         .
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               a.       On October 14,20l5, D EA agents purchased 1 gram of M D M A from

 EAPOLIR A''on the N ucleus M arketplace for 0.2749 bitcoins.ln the description,PO LIRA stated:

 t61 G ram M D M A -Lab Tested 88% pure!;''and,

                        On N ovem ber 17,2015, D EA agents purchased 25 M D M A pills from

 ûT OLIR A''on the N ucleus M arketplace for5.875 bitcoins.ln the description,PO LIRA stated:ç&5

 Yellow Snapchat-220m g M DM A .''

         28.    ln both instances, the controlled substances w ere shipped via U nited States

 Priority M ailwith N ew York City return addresses.Laboratory resultshave confirmed the item s

 received in M iam i,Florida,contained M DM A .

                Based on ET O LIRA 'S''profile on N ucleus,as w ellas vendor reviews on various

 internet forum s,CCPO LIRA ''has conducted hundreds of transactions on at least tw o D ark W eb

 m arketplaces,including:N ucleus w ith atleast492 transactions and A gora w ith an undetennined

 num beroftransactions. On both m arketplaces,t'PO LIRA ''advertised M D M A .

                    E.FU SC O & Fusco R esidence A ssociated w ith RPO LIR AM

                Since the tim e of the first controlled purchase from ttPO LIRA ''on O ctober 14,

 2015,D EA and other law enforcem entagents have been able to contirm the identity FU SCO as

 the tT O LIR A''on N ucleus using the shipping records associated w ith the packages of drugs

 shippedtoDEA viatheUnitedStatesPostalService(USPS)
                U SPS records revealed that the aforem entioned undercover dnzg purchase

 N ovem ber 17,2015 w as shipped using postagepurchased atççstam ps.com ''.

                Records obtained from Stam ps.com revealed that the Stam ps.com account used

 by tGPO LIRA ''to ship the drugs to U C agentsw as opened in January of2014 and registered under

 the nam e ofttKevin Fusco''and address 226 E 14th Street, Apartm ent4R,N ew Y ork,N ew York
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 10003. A search of N ew York D epartm ent of M otor V ehicles database revealed that FU SCO

 residesat226 E 14th Street, Apart
                                 ment4R,New York,New York 10003 (hereinafter,thettFusco
 Residence'').
                 FU SCO 'S Stam ps.com account further l'
                                                        evealed that betw een January 2014 and

 August2016,approxim ately $29,093.17 in postage was purchased and used forapproxim ately

 5,263 individual m ailings and packages, dozens of w hich were shipped to addresses in the

 Southern Districtof Florida. In addition,Stam ps.com IP connection records revealed logins into

 FU SCO 'S Stam ps.com account from IP addresses belonging to Tim e W arner Cable. Records

 from Tim e W arner Cable revealed the Stam ps.com login 1Ps w ere assigned to FU SCO at the

 exact dates and tim es that the 1Ps were captured by the Stam ps.com system ,and that FU SCO

 subscribed to w irelessinternetservice w ith service addressatthe Fusco Residence.

         34.     FU SCO 'S Stam ps.com IP connection records also revealthaton N ovem ber 15,

 2015,Stam ps.com captured a login IP addressbelonging to the Tideline Resortin Palm Beach,

 Florida. A subpoena to Tideline Resortrevealed thatFU SCO stayed atthe resortfrom N ovem ber

 14,2015 to N ovem ber 16,2015.

                 ln addition,the Stam ps.com recordsrevealed thatFU SCO shipped hispackages

 from the N ew York area and thatduring the tim e period thatFU SCO stayed atthe Tideline Resort

 in Florida,there w asno shipping inactivity. Sim ilarly,FU SC O 'S Stam ps.com accountshowed

 shipping inactivity from February 22,2016 to M arch 28,2016,coinciding with a tim e that

 FU SCO is known to have been travelling overseas,based U .S.im m igration records.

                          F.T or N etw ork A ctivity from the Fusco R esidence

        36. In order to determ ine whether FU SCO ,and/or som e other narcotics-trafticking co-

 conspirator, w as accessing clim inal, D ark W eb m arketplaces from the Fusco Residence, law

                                                10
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 enforcem entbegan m onitoring the internettraffic to and from the IP address associated w ith the

 Fusco Residence.

              As discussed above,because of the anonym ity provided by the Tor netw ork such

 m onitoling w ould not revealthe ultim ate IP address of devices com m unicated w ith through the

 Tor netw ork. How ever, such m onitoring could reveal connections to com puters generally

 associatedwith theTornetwork asrelays(ori6-f'orNodes'')which arethecomputersand selwers
 designated by the adm inistrators of the Tor netw ork to route com m unications tltrough the

 encrypted Tornetw ork.

               For exam ple,m onitoring the IP connections of a com puter connecting to N ucleus

 through Tor, w ill not reveal any specific IP address associated w ith Nucleus. Rather such

 m onitoring could4 reveal connections to com puters generally associated w ith the Tornetw ork as

 ''Tor N odes,''which are the com puters and servers designated by the adm inistrators of the Tor

 network to route com m unicationsthrough the encrypted Tor netw ork.

        39. A com puter attem pting to connectto the Tor netw ork m ustknow how to contact a

 Tor N ode in order to initiate a Tor netw ork session, and Tol'N ode IP addresses are publicly

 available,open source infonnation on websitessuch as:https://exonerator.top rol
                                                                               'ect.org.

        40. Therefore,m onitoring the traffic of the IP address of som eone suspected of using

 the Tornetwork could revealconnectionsto IP addresses publicly associated w ith com puters and

 serversknown to operate as TorN odes.




  4 This would not necessarily be the case if the person was adding an additional layer of
  anonymity,such as a virtualprivate network (VPN) connection,between them and the Tor
  netw ork.
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       41. On January 25,2017,the DEA obtained a pen/trap order for allinternettraffic to

and from the Com cast IP addresses associated with the Fusco Residence. The pen/trap order

results obtained through Febnzary 20,2017 revealnum erous internet connections from the Fusco

Residence IP address to know n Tor N odes and,therefore,the Tor network,which is consistent

w ith som eone logging on to crim inalD ark W eb m arketplaces through the Tor netw ork,from a

com puterlocated within Fusco Residence.

                                     G .FinancialA nalysis

       42.     Law enforcem entw as able to identify a Coinbase bitcoin accountused by the Silk

 Road 2.0 user ttpolira.''Coinbase accountrecords,revealed thatthe accountwas opened on April

 2,2013 in orderto buy and sellbitcoinsin FU SCO 'Snam e,and listing the Fusco Residence as his

hom e address,and an em ailand phone num ber also known to be FU SCO 'S.

       43.     Records from this accountlink itto severalbank accounts in FU SCO 'S nam e and

 show thatFUSCO received and cashed outbitcoin valued atover$200.,000 from October2,2013
 through July 22,2015.

               Law enforcem ent also identified bitcoin cash out transactions conducted and

 attem pted by FU SCO w ith Cottonw ood Vending LLC which operates a netw ork of autom ated

 bitcoin tellerm achines,i.e.,A TM m achines which provide cash forbitcoin.Cottonw ood V ending

 records show that from O ctober 28th 2015 through Decem ber 15th 2015 FU SCO utilized a

 Cottonw ood bitcoin A TM m achine located at G ood Guy V apes sm oke shop at 23 Cleveland

 Place,N ew York,N ew Y ork to conductnum erous bitcoin sale transactions in exchange for U .S.

 currency fora totalof$32,280.00. During the ATM transactions,FUSCO provided a copy ofhis

 N ew York driverlicense w ith the addresslisted asthe Fusco Residence.
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        45.     On December 15,2015,FUSCO attempted to cash outmore than $200,000 ata

 CottonwoodATM from bitcoin walletl7yxgaxgedso6rgycllW rV FTu3bvRwdG (hereinafter
 iiW alletl7yXgax'').Cottonwoodultimately rejected thetransaction because itcouldnotverify a
 legitim ate source of funds.

        46.     Forensic analysisofthe bitcoin flow ing into W allet l7yx gax revealed that68.71%

 ofallbitcoin received into hisw alletoriginated from D ark W eb m arketsites. Specitk ally,from

 approxim ately N ovem ber 16,2014 through Decem ber 15,2015 a totalof 1,535 bitcoin w assent

 directly from three D ark W eb m arketsitesknown asA gora,Evolution,and NucleusM arketto

 w allet 17yx gax.

                Based on m y training and experience lknow thatcrim inaldark w eb vendorsoften

 seektocashoutthebitcointheyreceivefrom theirillicitactivities,inordertospendandenjoythe
 proceeds,and often attem ptto do so w ith various and ever changing m ethods.
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                                         C ONCLIJSION

       48.      Based on the foregoing,probable cause existsthat:

                 Kevin FU SCO ,did,atleastfrom October 14,2015 through A prill3,2016,

 conspirewiththeunknownadministratorls)ofNucleus,todistributecontrolledsubstances,
 includingMDM A,inviolationofTitle21,United StatesCode,Sections846and 84l(b)(1)(c);
         b.    Kevin FU SCO ,did,atleastfrom O ctober 14,2015 through April 13,2016,

 conspirewiththeunknownadministratorls)ofNucleus,toknowinglyconducttinancial
 transactions,in bitcoins,involving the proceeds ofunlaw fulnarcoticstrafticking activities,

 knowing thatthe transaction w as designed to concealand disguise the nature ofthe proceeds,in

 violationofTitle18,UnitedStatesCode,Section 1956(h)and l956(a)(1).

                                             Respectfully subm 'tted,


                                                                    J.
                                             M A R IA ISABEL V A SA LLO ,SPECIA L AG EN T
                                             D RUG EN FOR CEM EN T A D M IN ISTR ATION



 The contents of this w ritten affidavit w ere subscribed and sw orn
 beforem e on M arch
                     q',2017.
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 HON O RAB LE B RRY L.GA RBER
 UN ITED STATES M A G ISTRATE JUD G E




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